20-12345-mg        Doc 2568        Filed 10/12/23 Entered 10/12/23 18:05:03                     Main Document
                                               Pg 1 of 10



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                               )
In re:                                                         ) Chapter 11
                                                               )
THE ROMAN CATHOLIC DIOCESE OF                                  ) Case No. 20-12345 (MG)
ROCKVILLE CENTRE, NEW YORK,                                    )
                                                               )
                                   Debtor. 1                   )
                                                               )

                                      CERTIFICATE OF SERVICE

    STATE OF CALIFORNIA                       )
                                              )
    COUNTY OF LOS ANGELES                     )


         I, Janice G. Washington, am over the age of eighteen years, am employed by Pachulski

Stang Ziehl & Jones LLP. I am not a party to the within action; my business address is 10100

Santa Monica Blvd., Suite 1300, Los Angeles, CA 90067.

         On October 12, 2023, I caused a true and correct copy of the following documents to be

served via the Court’s ECF system.

         On October 12, 2023, I caused a true and correct copy of the following documents to be

served via electronic mail upon the parties set forth on the service list annexed hereto as Exhibit

A.

         On October 12, 2023, I also caused a true and correct copy of the following documents to

be served via First Class US Mail upon the parties set forth on the service list annexed hereto as

Exhibit B:




1
 The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last for digits
of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, P.O. Box 9023,
Rockville Centre, NY 11571-9023.


DOCS_LA:351793.1 18481/002
20-12345-mg        Doc 2568    Filed 10/12/23 Entered 10/12/23 18:05:03            Main Document
                                           Pg 2 of 10



   NOTICE OF ADJOURNED HEARINGS ON (I) THE MOTION OF THE OFFICIAL
    COMMITTEE OF UNSECURED CREDITORS FOR ENTRY OF AN ORDER
    PURSUANT TO BANKRUPTCY RULE 2004 AUTHORIZING EXAMINATION OF
    WITNESSES AND THE PRODUCTION OF DOCUMENTS AND (II) THE STATUS
    CONFERENCE REGARDING THE DISCLOSURE BY INTERSTATE FIRE &
    CASUALTY COMPANY, NATIONAL SURETY CORPORATION, AND
    FIREMAN’S FUND INSURANCE COMPANY OF SURVIVOR PERSONAL
    INFORMATION FROM PROOFS OF CLAIM TO THIRD PARTIES

        I declare under penalty of perjury, under the laws of the State of California and the United

States of America that the foregoing is true and correct.

Dated: October 12, 2023



                                                      /s/ Janice G. Washington
                                                         Janice G. Washington




                                                 2
DOCS_LA:351793.1 18481/002
20-12345-mg        Doc 2568   Filed 10/12/23 Entered 10/12/23 18:05:03   Main Document
                                          Pg 3 of 10



                                        EXHIBIT A

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DOCS_LA:351793.1 18481/002
20-12345-mg        Doc 2568   Filed 10/12/23 Entered 10/12/23 18:05:03   Main Document
                                          Pg 4 of 10



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DOCS_LA:351793.1 18481/002
20-12345-mg        Doc 2568   Filed 10/12/23 Entered 10/12/23 18:05:03   Main Document
                                          Pg 5 of 10



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DOCS_LA:351793.1 18481/002
20-12345-mg        Doc 2568   Filed 10/12/23 Entered 10/12/23 18:05:03   Main Document
                                          Pg 6 of 10



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DOCS_LA:351793.1 18481/002
20-12345-mg        Doc 2568   Filed 10/12/23 Entered 10/12/23 18:05:03   Main Document
                                          Pg 7 of 10




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DOCS_LA:351793.1 18481/002
20-12345-mg        Doc 2568   Filed 10/12/23 Entered 10/12/23 18:05:03   Main Document
                                          Pg 8 of 10



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DOCS_LA:351793.1 18481/002
20-12345-mg        Doc 2568   Filed 10/12/23 Entered 10/12/23 18:05:03   Main Document
                                          Pg 9 of 10



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DOCS_LA:351793.1 18481/002
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                                         Pg 10 of 10



                                        EXHIBIT B

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